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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 9:19-cv-81160

   APPLE INC.,

                      Plaintiff,

           v.

   CORELLIUM, LLC,

                      Defendant.


                PROPOSED ORDER GRANTING MOTION TO FILE UNDER SEAL

           THIS CAUSE comes before the Court on Plaintiff Apple Inc.’s Motion to File Under Seal

   Portions of Apple’s Opposition to Defendant Corellium, LLC’s Motion for Reconsideration.

   Being fully advised, and noting the representations made in the Local Rule 7.1(a)(3) Certification,

   it is

           ORDERED AND ADJUDGED that the Motion is hereby GRANTED. Plaintiff is given

   leave to file portions of Apple’s Opposition to Defendant Corellium, LLC’s Motion for

   Reconsideration under seal. The sealed materials shall remain under seal until further Court order.

   The Court may consider unsealing some or all of the documents after it has had the opportunity to

   review them.

           DONE AND ORDERED this __ of February, 2020, at West Palm Beach, Palm Beach

   County in the Southern District of Florida.

                                                 _________________________________
                                                 WILLIAM MATTHEWMAN
                                                 UNITED STATES MAGISTRATE JUDGE
